Case 18-00728-SMT        Doc 53    Filed 01/12/19 Entered 01/12/19 15:30:40              Desc Main
                                   Document     Page 1 of 5


                          UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE: LORIE LYNN RONES                              :
                                                     :       Case No. 18-00728
                                                     :
                                   Debtor.           :       Chapter 13


                APPLICATION FOR ALLOWANCE OF COMPENSATION

       The undersigned attorney for the debtor(s) states and represents as follows:

       1.      The total fee to be charged by the attorney for legal services rendered or to be
rendered for the debtor(s) in this bankruptcy case, exclusive of costs, is $3,000.00, of which
$900.00 has been paid, leaving a balance of $2,100.00.

        2.     The source of the compensation paid or to be paid is the debtor(s), which
compensation shall, by agreement with the debtor(s), be paid by the Chapter 13 trustee as a
priority administrative claim in the bankruptcy case, upon approval thereof by the court.

       3.     The attorney has filed a document entitled Disclosure of Compensation of
Attorney for Debtor with the court, the provisions of which are incorporated by reference in this
application.

        4.     The legal services rendered or to be rendered by the attorney in connection with
this bankruptcy case include the following:

       a.      Examining and analyzing the debtor’s financial situation and advising the debtors
thereon;

      b.      Preparing and filing the petition, schedules, statements, plan and other necessary
documents and pleadings in the case for confirmation of the debtor(s)’ plan;

       c.        Representing the debtor(s) at the meeting of creditors and the confirmation
hearing; and

       d.        Assisting the debtor(s) in obtaining confirmation of the debtor(s)’ plan and in
carrying out and consummating the plan.

      WHEREFORE, the undersigned attorney respectfully applies for allowance of the
compensation described above in this application and requests that the unpaid balance of such
compensation be approved by the court as a priority administrative claim in the case, to be paid
Case 18-00728-SMT         Doc 53   Filed 01/12/19 Entered 01/12/19 15:30:40               Desc Main
                                   Document     Page 2 of 5


by the Chapter 13 trustee out of the funds deposited with the trustee by the debtor(s).

       Dated: January 12, 2019                       /s/ Kevin Judd____________
                                                     Kevin D. Judd, Bar #434926
                                                     Attorney for Debtor
                                                     601 Pennsylvania Avenue, NW
                                                     Suite 900 - South Building
                                                     Washington, D.C. 20004
                                                     Telephone: 202-483-6070



       NOTICE OF TIME TO RESPOND TO APPLICATION OF ALLOWANCE OF
                             COMPENSATION

PLEASE TAKE NOTICE:

        PURSUANT TO LBR 2002-1, WITHIN TWENTY-ONE (21) DAYS OF THE DATE
OF THIS NOTICE, you must file and serve a written opposition to the Application of Allowance of
Compensation and a proposed order under Local Bankruptcy Rule 9072-1. The opposition and
proposed order must be filed with the Clerk of the Bankruptcy Court, U.S. Courthouse, 3rd and
Constitution Ave., NW, Washington, DC 20001, and served (by delivery or mailing of copies) upon
the undersigned. The opposition may append affidavits and documents you wish to attach in support
of your opposition.

        IF YOU FAIL TO FILE A TIMELY OPPOSITION, THE COURT MAY GRANT
THE APPLICATION OF ALLOWANCE OF COMPENSATION IN THE MANNER
SOUGHT BY THE APPLICATION WITHOUT A HEARING. You may file and serve with or
include in the opposition a request for hearing which may be held in the Court’s discretion.

Dated: January 12, 2019

                                                     By      /s/ Kevin Judd____________
                                                             Kevin D. Judd, Bar #434926
                                                             Attorney for Debtor
                                                             601 Pennsylvania Avenue, NW
                                                             Suite 900 - South Building
                                                             Washington, D.C. 20004
                                                             Telephone: 202-483-6070
Case 18-00728-SMT        Doc 53    Filed 01/12/19 Entered 01/12/19 15:30:40             Desc Main
                                   Document     Page 3 of 5


                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2019, a copy of the foregoing Application For Allowance
Of Compensation and Notice of Time to Respond to Application of Allowance of Compensation
were electronically emailed, ECF to the Chapter 13 Trustee and mailed, postage prepaid to the
United States trustee and to all Creditors.


                                                     /s/ Kevin Judd________
                                                     Kevin D. Judd, Bar #434926
Case 18-00728-SMT         Doc 53    Filed 01/12/19 Entered 01/12/19 15:30:40          Desc Main
                                    Document     Page 4 of 5




                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA

In re: LORIE LYNN RONES                              :
                                                     :      Case No. 18-00728
                                                     :
                                    Debtor.          :      Chapter 13

                                              ORDER

          Upon consideration of Debtor(s)’ Counsel’s Application For Allowance Of Compensation

and Notice of Time to Respond to Application of Allowance of Compensation, and the entire record

herein,

          ORDERED that the Debtor(s)’ Counsel’s Application For Allowance Of Compensation and

Notice of Time to Respond to Application of Allowance of Compensation, is hereby granted,

          AND FURTHER ORDERED, that fees of $2,100.00 shall be paid to Kevin D. Judd as an

unpaid administrative claim.

Copies to:



Nancy L. Spencer Grisby, Bankruptcy Trustee
185 Admiral Cochrane Dr., Suite 240
Annapolis, MD 21401
Case 18-00728-SMT     Doc 53   Filed 01/12/19 Entered 01/12/19 15:30:40   Desc Main
                               Document     Page 5 of 5


Kevin D. Judd, Esq.
601 Pennsylvania Avenue, NW
Suite 900 - South Building
Washington, DC 20004

Lorie Lynn Rones
2920 Pennsylvania Ave., SE
Washington, DC 20020

                                     End of Order
